       Case 1:24-cv-00941-JKB          Document 475         Filed 02/04/25      Page 1 of 6



                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MARYLAND
                                 NORTHERN DIVISION

 In the Matter of the Petition

                       Of
                                                      Docket No. JKB 24-cv-941
 GRACE OCEAN PRIVATE LIMITED, as
 Owner of the M/V DALI,                               IN ADMIRALTY

                      And

 SYNERGY MARINE PTE LTD, as Manager
 of the M/V DALI,

 for Exoneration from or Limitation of
 Liability


                CLAIMANTS’ MOTION TO COMPEL PETITIONERS
           TO SUBMIT TO DEPOSITION IN THE DISTRICT OF MARYLAND

       Claimants, appearing herein through court-appointed lead counsel, respectfully move this

Court pursuant to Rule 37 of the Federal Rules of Civil Procedure for an order compelling

Petitioners, Grace Ocean Private Ltd., Synergy Marine Pte. Ltd., and their management “agents

and employees” to appear for deposition in this judicial district. The Petitioners refuse to produce

the witnesses in the United States. Claimants urge the following in support of the motion:

           •   Petitioners voluntarily and strategically chose to file this limitation
               proceeding in this judicial district even though they were under no
               time pressure or legal requirement to do so.

           •   The settled rule in this judicial district is that plaintiffs (and the
               plaintiffs’ agents and employees) must make themselves available
               for deposition in the forum in which they brought suit.

           •   The settled rule is also the most practical and efficient approach for
               this case for many reasons.

           •   The unique attributes of a limitation proceeding – such as allowing
               the vessel owner (who is only a nominal plaintiff) to select the


                                                 1
      Case 1:24-cv-00941-JKB          Document 475        Filed 02/04/25     Page 2 of 6



              forum, and the burdens of proof that a vessel owner faces – support
              application of the settled rule.

          •   Petitioners bear the burden of demonstrating the necessity for an
              overseas deposition venue, but none of the hardships that other
              courts have identified as justification for plaintiff corporations to
              dodge domestic depositions applies here.

       All these grounds for compelling Grace Ocean Private Ltd., Synergy Marine Pte. Ltd., and

their management “agents and employees” to appear for deposition in Baltimore are set forth in

greater detail in the accompanying memorandum.

       WHEREFORE, Claimants respectfully move this Court to require Petitioners to appear for

deposition in the District of Maryland, together with their management “agents and employees.”



       Respectfully submitted this 4th day of February 2025,


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                                               2
Case 1:24-cv-00941-JKB   Document 475   Filed 02/04/25     Page 3 of 6



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                                3
Case 1:24-cv-00941-JKB   Document 475   Filed 02/04/25      Page 4 of 6



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                                4
Case 1:24-cv-00941-JKB   Document 475   Filed 02/04/25   Page 5 of 6



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                                5
      Case 1:24-cv-00941-JKB         Document 475       Filed 02/04/25     Page 6 of 6



                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 3rd day of February 2025, a copy of the foregoing Joint

Status Report was served via the court’s CM/ECF system on all counsel of record.

                                                   /s/ David L. Reisman
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                                              6
